
247 S.E.2d 234 (1977)
293 N.C. 261
STATE of North Carolina
v.
Michael Anthony MAY.
Supreme Court of North Carolina.
September 12, 1977.

ORDER DENYING MOTION FOR RECONSIDERATION
Inasmuch as defendant did not assign as error on appeal the failure of the trial judge to place the burden of proving the absence of heat of passion or the absence of self-defense on the state, see State v. May, 292 N.C. 644, 235 S.E.2d 178 (1977), he has waived his right now to complain about such errors. Hankerson v. North Carolina, 423 U.S. 233, 97 S.Ct. 2339, 53 L.Ed.2d 306, 316, n. 8 (1977). Now, therefore, it is ORDERED by the Court in Conference that defendant's motion for reconsideration be and it is hereby denied.
